               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          BRYSON CITY DIVISION
                                2:10 CR 31-3


UNITED STATES OF AMERICA,                     )
                                              )
Vs.                                           )            ORDER
                                              )
PAUL KENNETH TAYLOR,                          )
                                              )
                 Defendant.                   )
____________________________________          )


       THIS CAUSE coming on to be heard before the undersigned on April 13,

2015 pursuant to a Violation Report (#85) filed by the United States Probation Office

alleging that Defendant had violated terms and conditions of his pretrial release. At

the call of this matter on for hearing it appeared that Defendant was present with his

counsel, Anthony A. Coxie, and the Government was present through Assistant

United States Attorney, David Thorneloe. From the evidence offered and from the

statements of the Assistant United States Attorney and the attorney for the

Defendant, and the records in this cause, the Court makes the following findings.

       Findings: At the call of this matter, Defendant, by and through his attorney,

admitted the allegations contained in the Violation Report.          The Government

introduced, without objection, the Violation Report into evidence.

       On November 14, 2014 the United States Probation Office filed a Petition


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(#77) that presented allegations that Defendant had violated terms and conditions of

his supervised release. On December 1, 2014, the undersigned conducted an initial

appearance hearing for Defendant, and on December 3, 2014 entered an Order (#82)

setting terms and conditions of prehearing release for Defendant. The terms and

conditions of release included the following:

         (8)(s) The defendant is to participate in the following location monitoring

               program component and abide by its requirements as the pretrial service

               officer instructs:

               Court ordered home detention

         (8)(3) Defendant must immediately advise the court, defense counsel, and the

               U.S. Attorney in writing before any change in address or telephone

               number.

         On December 27, 2014, Defendant physically removed his monitoring

equipment at his residence and absconded from supervision. Defendant did not

advise the court, defense counsel and the U.S. Attorney in writing before he left his

residence without permission or advisement.

         Discussion. 18 U.S.C. § 3148(b)(1) provides as follows: The judicial officer

shall enter an order of revocation and detention if, after a hearing, the judicial officer

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      (1)    finds that there is----
             (A) probable cause to believe that the person has committed a
      Federal, State, or local crime while on release; or
             (B) clear and convincing evidence that the person has violated any
       other condition of release; and
      (2) finds that ---
             (A) based on the factors set forth in section 3142(g) of this title, there
      is no condition or combination of conditions of release that will assure that
      the person will not flee or pose a danger to the safety of any other person or
      the community; or
             (B) the person is unlikely to abide by any condition or combination
      of conditions of release.

      If there is probable cause to believe that, while on release, the person
committed a Federal, State, or local felony, a rebuttable presumption arises that no
condition or combination of conditions will assure that the person will not pose a
danger to the safety of any other person or the community.”

      Based upon the evidence, the undersigned finds by clear and convincing

evidence that Defendant violated the terms and conditions of release that ordered he

participate in location monitoring program components and abide by the

requirements of the program in that Defendant physically removed his monitoring

equipment and left his residence. The undersigned further finds by clear and

convincing evidence that Defendant, after leaving his residence, failed to notify the

Court, his defense counsel, or the U.S. Attorney in writing of this address and its

change or telephone number. Defendant left his residence on December 27, 2014

and absconded from supervision.

      Due to the findings made above, it appears there is no condition or


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combination of conditions of release that will assure that Defendant will not pose a

danger to the safety of any other person or the community. It is further of the opinion

that based upon Defendant’s actions, it is unlikely Defendant will abide by any

condition or combination of conditions of release.            As a result of the above

referenced findings, the undersigned has determined to enter an order revoking the

unsecured bond and the terms of pretrial release previously issued in this matter and

entering an order detaining Defendant.

                                      ORDER

      IT IS, THEREFORE, ORDERED that the unsecured bond and the terms

and conditions of pretrial release (#82) are hereby REVOKED and it is ORDERED

that Defendant be detained pending further proceedings in this matter.




                                              Signed: April 15, 2015




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